                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


      THOMAS M. RILEY,

                              Plaintiff,

                  v.                              Case No. 3:19-cv-00048-TMB
      MEGAN J. BRENNAN,
      POSTMASTER GENERAL
      UNITED STATES POSTAL
      SERVICE
                        Defendant.



                             ORDER OF DISMISSAL

        Self-represented prisoner Thomas M. Riley filed a complaint against

Megan J. Brennan, the United States Postmaster General, in her official capacity

on February 25, 2019. 1 Mr. Riley raises two claims under the Federal Tort Claims

Act, 28 USC §1346 (“FTCA”). Because Mr. Riley references the FTCA, the Court

interprets his claims to be against the United States. Mr. Riley also raises four

claims alleging violations of his constitutional rights. 2 Mr. Riley alleges that his

rights were violated by denying his access to the court under the First Amendment,




1
    Docket 1 at 1.
2
   Docket 1-1 at 5. These constitutional claims were raised as part of Mr. Riley’s
original FTCA action, which is attached to the Complaint. Under the principles of
liberal construction for pro se litigants, the Court construes these allegations as
part of the Complaint, and will thus address these constitutional claims as well as
the FTCA claims in this Order in the interest of judicial economy.

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          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 1 of 15
his procedural due process right under the Fifth Amendment, and his substantive

due process right under the Fifth Amendment. 3 Mr. Riley also claims that he

suffered “atypical and significant hardship” that is a violation of his Eighth

Amendment right. 4

        The Complaint alleges that on September 12, 2016, the USPS breached its

contractual duty to Mr. Riley by erroneously returning a letter that Mr. Riley mailed

due to an underpayment of postage fees. 5 Alternatively, Mr. Riley also asserts that

USPS fraudulently misrepresented the amount of postage required to deliver the

letter that was eventually returned to Mr. Riley. 6 Mr. Riley alleges that the letter

that he attempted to mail contained a motion for a new trial that challenged

Mr. Riley’s criminal conviction in a prior case. 7 This motion was later dismissed

because it was untimely. 8 Mr. Riley argues that he was injured by the failure of the




3
    Docket 1-1 at 5.
4
    Docket 1-1 at 5.
5
    Docket 1 at 2.
6
    Docket at 3.
7
    Docket at 4.
8
 The court takes judicial notice of the fact the motion was dismissed for failure to
prosecute. See United States v. Riley, 3-09-cr-00047-TMB-1 at Docket 415 (Order
Denying Motion to Alter Judgment under Rule 59(e)). Judicial notice is the “court’s
acceptance, for purposes of convenience and without requiring a party’s proof, of
a well-known and indisputable fact; the court’s power to accept such a fact.”
Black’s Law Dictionary (10th ed. 2014); see also Headwaters Inc. v. U.S. Forest
Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a proceeding in
                                         2

          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 2 of 15
post office to deliver his letter. 9 Mr. Riley also claims that because his motion was

dismissed, his constitutional rights to access the court and to due process were

violated. 10 Mr. Riley further claims that due to his subsequent imprisonment, he

now suffers “atypical and significant hardship” which is a violation of his Eighth

Amendment rights.

         For relief, Mr. Riley seeks $13,000,000.00 in damages. 11

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented prisoner seeking a waiver of the prepayment

of the filing fee. In this screening, a court shall dismiss the case at any time if the

court determines that the action:

               (i)      is frivolous or malicious;

               (ii)     fails to state a claim on which relief may be granted; or

               (iii)    seeks monetary relief against a defendant who is immune from

                        such relief. 12




another tribunal are appropriate for judicial notice.”) (internal quotation marks and
citation omitted); see also Fed. R. Evid. 201.
9
    Docket at 1.
10
     Docket 1-1 at 5.
11
     Docket 1 at 1.
12
     28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(a), (b).

                                               3

          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 3 of 15
       To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 13 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt. 14 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 15

                                    DISCUSSION

       Mr. Riley alleges claims against the United States Postal Service under the

Federal Tort Claims Act (FTCA), in addition to raising several constitutional claims.

Mr. Riley’s FTCA claims are expressly barred by the language provisions of that

statute. Additionally, Mr. Riley’s constitutional claims serve to collaterally attack his

conviction, and are barred by the “favorable termination rule” of Heck v. Humphrey.



13
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly,
550 U.S. 544, 570 (2007)). In making this determination, a court may consider
“materials that are submitted with and attached to the Complaint.” United States v.
Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d
668, 688 (9th Cir. 2001)).
14
  See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman,
773 F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
15
  See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing
Albrecht v. Lund, 845 F.2d 193, 195 (9th Cir. 1988)).

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         Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 4 of 15
Accordingly, Mr. Riley’s claims fail to state a claim upon which relief may be

granted, amendment is futile, and therefore must be dismissed with prejudice.

                                The Federal Tort Claims Act

           Mr. Riley brings claims under the FTCA against the United States for injury

resulting from a failure to deliver a letter on time. In general, the United States

cannot be sued because it has sovereign immunity. 16 However, if the United States

waives its sovereign immunity a lawsuit may proceed against it. 17 The FTCA

operates as a limited waiver of sovereign immunity that allows for a plaintiff to bring

certain tort claims against the United States for the actions of its employees. 18 The

FTCA does not waive sovereign immunity in all circumstances; the statute

identifies several exceptions where the FTCA does not apply. For those

exceptions, the United States retains its sovereign immunity and cannot be sued

under the FTCA. 19

           One such exception to the FTCA is a provision stating that that the United

States cannot be sued for matters involving “the loss, miscarriage or negligent

transmission of letters or postal matter.” 20 Another exception to the FTCA is that



16
     FDIC v. Meyer, 510 U.S. 471, 475 (1994).
17
     Id.
18
     Dolan v. United States, 546 U.S. 481, 484 (2006).
19
     Dolan, 546 U.S. at 485.
20
     28 U.S.C. § 2680(b).

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 5 of 15
the United States does not waive sovereign immunity for “any claim arising out

of . . . misrepresentation[.]” 21 Mr. Riley argues that his claims should go forward

despite these exceptions. Mr. Riley points to two cases to argue that the FTCA’s

exceptions should not apply to his claims and that the Court has subject matter

jurisdiction over this action. 22

         The first case that Mr. Riley relies on addresses the exception to the FTCA

for the “negligent transmission of letters.” 23 In Barbieri v. Hartsdale Post Office,

the plaintiff was charged a fee for filing his taxes late because the post office had

marked the exterior of the envelope with the incorrect mailing date. 24 The Barbieri

court held that the injury in question resulted from negligence in applying an

external marking to the letter, and that the application of the marking was not the

same as “transmission” of a letter as described in the exception to the FTCA’s

waiver of sovereign immunity. 25 Mr. Riley argues that because his letter was

returned with an external marking (a stamp that read “postage due return to

sender”), that the exception to the waiver of sovereign immunity should not apply




21
     28 U.S.C. § 2680(h).
22
     Docket 1 at 2.
23
     28 U.S.C. § 2680(b).
24
     Barbieri v. Hartsdale Post Office, 856 F.Supp 817, 818 (S.D.N.Y. 1994).
25
     Barbieri, 856 F.Supp. at 819.

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          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 6 of 15
as in Barbieri. 26 However, the facts of Mr. Riley’s complaint differ significantly from

those in Barbieri. The negligence arising in Barbieri resulted from the negligent

application of an external mark to a letter. 27 In contrast, the negligence that Mr.

Riley alleges was the alleged improper weighing of his letter that caused it to be

returned. The external marking on Mr. Riley’s letter was not the cause of his injury;

instead, the injury that Mr. Riley alleges was caused by the failure to properly

deliver his letter, or the ‘negligent transmission’ of his letter.

           In addition, Barbieri is not controlling precedent. The Supreme Court has

ruled that the negligent transmission exception to the FTCA is limited to

“negligence causing mail to be lost or to arrive late, in damaged condition, or at the

wrong address.” 28 The injuries that Mr. Riley alleges result from his letter arriving

either late (after a deadline) or from arriving at the wrong address (when it was

returned to Mr. Riley), both of which would fall within the negligent transmission

exception to the FTCA.

           For these reasons, the Court finds that this exception to the FTCA’s waiver

of sovereign immunity still applies to Mr. Riley’s claims. Mr. Riley is not able to sue

the United States, or the United States Postal Service, for damages resulting from

the late delivery of his letter because the United States has not waived its



26
     Id.
27
     Id. at 820.
28
     Dolan, 546 U.S. at 481.

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 7 of 15
sovereign immunity. The Court therefore does not have subject matter jurisdiction

over Mr. Riley’s claims for negligent transmission.

           Mr. Riley also raises a claim of misrepresentation against the United States

Postal Service. Mr. Riley argues that the exception to the waiver of sovereign

immunity for claims of misrepresentation does not apply because of the precedent

set in Mundy v. United States. 29 In Mundy, the plaintiff lost his job after a

background check was conducted by the FBI. 30 During the background check, the

FBI misplaced a document that should have been in his file; the plaintiff was unable

to pass the background check without that missing file. 31 The Mundy court held

that the misrepresentation exception did not apply to the FBI because they did not

intentionally make a misrepresentation. 32 The Mundy court found that the injuries

the plaintiff suffered were a result of the FBI's negligence, and were not claims for

misrepresentation. 33 Thus, the exception to the waiver of sovereign immunity for

misrepresentation did not apply. 34 Mr. Riley has asserted a claim for




29
     Mundy v. United States, 983 F.2d 950, 953 (9th Cir. 1993).
30
     Mundy, 983 F.3d. at 951.
31
     Id.
32
     Mundy, 983 F.3d at 953.
33
     Id.
34
     Id.

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 8 of 15
misrepresentation that he argues is not barred by sovereign immunity due to the

Mundy precedent.

           Mundy is not applicable to Mr. Riley’s case: Mr. Riley’s claim is for

misrepresentation, and—unlike in Mundy 35—nothing in the Complaint suggests

that Mr. Riley’s claim can be construed as a claim for negligence, nor does

Mr. Riley assert any other tort that would fall within the FTCA. The United States

has not waived its sovereign immunity under the FTCA for misrepresentation

claims; therefore, the Court lacks subject matter to hear Mr. Riley’s claims.

Because the Court lacks subject matter jurisdiction, the claims are dismissed with

prejudice.

                                  Constitutional Claims

           Mr. Riley also asserts four claims against the United States Postal Service

for violations of his constitutional rights. 36 Mr. Riley states that his First Amendment

right to have access to the courts, his Fifth Amendment right to substantive due

process, and his Eighth Amendment rights were all violated. 37 The same facts

relevant to Mr. Riley’s tort claims provide the factual basis for his constitutional

claims. 38



35
     Id.
36
     Mr. Riley’s asserted these claims in his initial FTCA claim. See Docket 1-1 at 5.
37
     Docket 1-1 at 5.
38
     Id.

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 9 of 15
           1. First Amendment – Access to the Courts

           Under certain limited circumstances, a plaintiff may bring a legal action for

monetary damages against a federal officer who, while acting under the color of

law, violated that plaintiff’s constitutional rights. 39 These actions are commonly

known as Bivens actions because of the Supreme Court case in which they were

first recognized. 40 Bivens actions were not created by Congress through a statute,

but adopted by federal courts “under general principles of federal jurisdiction.” 41

Because of this, limits on the context in which Bivens claims are available is also

defined by courts. 42

           Importantly, not all constitutional violations can form the basis of a Bivens

claim. To date, the Supreme Court has only allowed Bivens actions in three broad

contexts: for a warrantless search that violates the Fourth Amendment, 43 for

gender discrimination that violates the Fifth Amendment, 44 and for the denial of

medical care to a prisoner that violates the Eighth Amendment. 45 The Supreme


39
  Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S.
388, 397 (1971).
40
     Id. at 397.
41
     Ziglar v. Abbasi, 137 S. Ct. 1843, 1854 (2017).
42
     Id.
43
     Bivens, 403 U.S. 388
44
     See Davis v. Passman, 422 U.S. 228 (1979).
45
     See Carlson v. Green, 446 U.S. 14 (1980).

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 10 of 15
Court has also stated that it is unlikely to expand Bivens further to any new types

of claims. 46 Thus, the Supreme Court has also instructed federal courts that, in

most circumstances, a plaintiff may only bring a Bivens action if the violation they

are asserting arises in a context for which the Supreme Court has already

recognized Bivens claims can proceed. 47

         Mr. Riley’s first constitutional claim asserts that he was denied access to the

court in violation of his First Amendment rights. 48 The Supreme Court has never

recognized a Bivens action for alleged First Amendment violations. 49 And, the

Ninth Circuit has specifically declined to extend Bivens to allow a cause of action

for the denial of access to the courts. 50 In addition, the Court notes that much of

the same reasoning the Ninth Circuit followed in declining to recognize a Bivens

claim for denial of access to the courts also applies to Mr. Riley’s claim for two

reasons. First, generally, courts should not extend Bivens when an alternative




46
  Ziglar, 137 S. Ct. at 1857 (citing Iqbal, 556 U.S. at 675 and Correctional Servs.
Corp. v. Malesko, 534 U.S. 61, 68 (2001)).
47
  Ziglar, 137 S. Ct. at 1854 (establishing that when deciding whether to recognize
a Bivens claim in a new context, the Supreme Court has looked to whether there
are any “special factors counseling hesitation,” and whether “Congress has
provided an alternative remedy.”).
48
     Docket 1-1 at 5.
49
     Vega v. United States, 881 F.3d 1146, 1153 (9th Cir. 2018).
50
     Vega, 881 F.3d at 1155.

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          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 11 of 15
avenue for relief is available. 51 Second, for any denial of access to the courts claim

to proceed, the complaint must show that the underlying cause of action (i.e., the

claim that would have been made in court that was denied) is arguable and non-

frivolous. 52

           Although Mr. Riley does not fully describe his constitutional claims in his

Complaint, 53 his First Amendment claim arises from the same set of facts as his

tort claims—namely, the fact that his returned letter contained a motion for a new

trial that was subsequently denied. 54 The Court takes judicial notice of the fact that

Mr. Riley has persistently challenged his conviction through many avenues, 55 all

of which have proven unsuccessful. 56 Thus, the returned letter—and the motion

contained therein—on which Mr. Riley has based his claims—was not has sole

opportunity to challenge his conviction, which counsels against allowing Mr. Riley’s


51
     Id.
52
     Christopher v. Harbury, 536 U.S. 403, 415 (2002).
53
     See Docket 1-1 at 5.
54
     Docket 1-1 at 5.
55
  MGIC Indem. Corp. v. Weissman, 803 F.2d 500, 504 (9th Cir. 1986) (noting a
court may take judicial notice of public records); see also Fed. R. Evid. 201.
56
   See United States v. Riley, 3-09-cr-00047-TMB-1, Docket 358 (9th Circuit
Memorandum Affirming Sentence), Docket 361 (Denial of petition for rehearing en
banc), Docket 411 (Order Denying Motion to Vacate), Docket 415 (Order Denying
Motion to Alter Judgment under Rule 59(e)), Docket 424 (Order denying Motion
for Relief from Judgment under Fed. R. Civ. P. 60(b)(6)), Docket 430 (Motion for
Relief from Judgment under Rule 60(b)(1)), Docket 432 (Order Denying Motion for
Relief from Judgment).

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            Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 12 of 15
claims for denial of access to the courts to proceed. 57 In addition, given these

numerous, unsuccessful challenges, it is unlikely that the underlying claims that

Mr. Riley was unable to advance meet the standard required to bring a claim for

denial of access to the courts.

         Accordingly, because Mr. Riley has not established a constitutional claim

under a Bivens action for the denial of access to the courts in violation of his First

Amendment rights, this claim must be dismissed with prejudice for failure to state

a claim.

         2. Heck v. Humphrey

         Mr. Riley alleges three additional violations of his constitutional rights.

Mr. Riley claims that: (1) his Fifth Amendment right to procedural due process was

violated; (2) that his Fifth Amendment right to substantive due process was

violated; and, (3) that his Eighth Amendment rights were violated because he has

suffered “atypical hardship.” 58 Mr. Riley alleges that the returned letter caused his

motion for a new trial to be denied, thereby preventing his criminal conviction from

being overturned.




57
   Ziglar, 137 S. Ct. 1843, 1858 (holding that “… if there is an alternative remedial
structure present in a certain case, that alone may limit the power of the Judiciary
to infer a new Bivens cause of action”).
58
     Dkt. 1-1 at 5.

                                          13

          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 13 of 15
        In Heck v. Humphrey, the Supreme Court held that in order to recover

damages for the violation of a constitutional right resulting from a criminal

conviction, a plaintiff must show that the underlying conviction “has been reversed

on direct appeal, expunged by executive order, declared invalid by a state tribunal

authorized to make such determination, or called into question by a federal court's

issuance of a writ of habeas corpus…”. 59 This principle applies federal convictions

and constitutional claims against federal actors (Bivens claims). 60 This rule applies

“if success in that action would necessarily demonstrate the invalidity of

confinement or its duration,” regardless of who the target of the suit is, and

regardless of whether the prisoner seeks damages or injunctive relief. 61 Mr. Riley’s

criminal conviction has not been overturned. 62 Accordingly, Mr. Riley’s claims are

barred under Heck because his original criminal conviction has not been

overturned.



59
     Heck v. Humphrey, 512 U.S. 477, 486-487 (1994).
60
  Martin v. Sias, 88 F.3d 774, 774 (9th Cir. 1996) (applying the rationale of Heck,
which was decided based on a claim brought against a state government actor
under 42 U.S.C. § 1983, to claims against federal actors under Bivens).
61
     Wilkinson v. Dotson, 544 U.S. 74, 81-82 (2005).
62
  See United States v. Riley, 3-09-cr-00047-TMB-1, Docket 424 (Order denying
Motion for Relief from Judgment under Fed. R. Civ. P. 60(b)(6)), Docket 430
(Motion for Relief from Judgment under Rule 60(b)(1)). To the extent that Mr. Riley
asserts that his criminal conviction was not overturned because of the purported
constitutional violations, the Court notes that Mr. Riley has made numerous
separate efforts to overturn his conviction, all of which have been unsuccessful.
See supra at page 12.

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          Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 14 of 15
      Mr. Riley’s claims under the Fifth and Eighth Amendment are therefore

dismissed with prejudice for failure to state a claim because no cause of action is

available to Mr. Riley for the violations he alleges.

                               Futility of Amendment

      All of Mr. Riley’s claims, whether under the FTCA or the U.S. Constitution

are barred expressly by either statute or case law. No amendment of the facts

would remedy the structural failures of his claims. Therefore, amendment is futile,

and leave to amend will not be granted.

IT IS THEREFORE ORDERED:

      1. The action is DISMISSED WITH PREJUDICE for failure to state a claim

          upon which relief may be granted and the futility of amendment.

      2. The Clerk of Court is directed to enter a final judgment.

DATED at Anchorage, Alaska, this 10th day of September, 2019.


                                               /s/ Timothy M. Burgess
                                               TIMOTHY M. BURGESS
                                               UNITED STATES DISTRICT JUDGE




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       Case 3:19-cv-00048-TMB Document 4 Filed 09/10/19 Page 15 of 15
